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                            UM TED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLOU A
                          CASE NO.12-14081-CR.M ART1NEZ/LYNCH

 UM TED STATES OF AM ERICA

         Plaintiff,
 VS.

 BONGKOTM AT KHIAOSW G,

         D efendant.


        ORDER ADO PTING M AGISTR ATE'S REPORT AND RECOM M ENDATIO N

        THIS CAUSE camebeforetheCourtupon the OrderofReference from theDistrid
 Courtto conducta ChangeofPleabefore aM agistrateJudge.
        TH E M ATTER w asreferred toM agistrateJudgeFrank J. Lm ch Jr,on January 23,
 2013. A R eportand Recom m endation w asfiled on February 5, 2013,(D.
                                                                     E.#65),recommending
 thattheDefendant'spleaofgt
                          ziltybeaccepted. The Defendantand the G overnm entw ere

 affordedtheopporttmitytofileobjectionstotheReportandRecommendation,howevernone
 werefiled.TheCourthasconducted a denovo review ofthe entirefile. A ccordingly,itis
        O RD ER ED A N D A D JUD G E D that
        The R eportand R ecom m endation ofU nited StatesM agistrate Judge Frank J. Lynch Jr,is
hereby Adopted and Approved in itsentirety.
        TheDefendantisadjudged guiltytoCountTwooftheSupersedinglnformation,which
chargestheDefendantwith attempted possession ofan identification docum ent, thatis,an alien
registrationreceiptcard(ççgreen card'),withtheintenttousethegreen cardtodefraudtheUnited
States,in violation ofTitle 18,United StatesCode, Section 1028(a)(4)and(9.
        D O NE A N D O R DER ED in Cham bersat      am Florida, t
                                                                hisIR ayofFeb ary,
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2013.                                                        A
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                                                       D STA TES D ISTRI       JUD GE


Copied:H on.M agistrate Lynch
A l1CounselO fRecord
U .S.Probation Oftice
